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                    United States Court of Appeals
                                  FIFTH CIRCUIT
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                              August 12, 2024


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      No. 24-60395       Repbublican Natl Cmte v. Wetzel
                         USDC No. 1:24-CV-25
                         USDC No. 1:24-CV-37


Dear Counsel,
In light of the court order of August 9, 2024 granting the motion
to expedite the above captioned appeal, please adhere to the
following expedited briefing schedule.
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  •   Appellants’ brief is due on 08/16/2024
  •   Appellees’ brief is due on 09/09/2024
  •   Appellants’ reply brief is due on 09/16/2024

The case will be heard during the week of September 23rd, 2024. A
specific date will be given out at a later time. A copy of the
court’s printed calendar indicating the exact date and time of the
hearing will be provided prior to the hearing date. Please adhere
to the expedited briefing schedule without requesting extensions
in order to ensure the availability of the briefs to the court
prior to oral argument.
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and
5th Cir. R. 12. The form is available from the Fifth Circuit’s
website, www.ca5.uscourts.gov.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
Guidance Regarding Citations in Pleadings.
5th Cir. R. 28.2.2 grants the Clerk the authority to create a
standard format for citation to the electronic record on appeal.
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You must use the proper citation          format    when   citing    to   the
electronic record on appeal.
  A. In single record cases, use the short citation form, "ROA"
     followed by a period, followed by the page number.     For
     example, "ROA.123."
  B. For multiple record cases, cite "ROA" followed by a period,
     followed by the Fifth Circuit appellate case number of the
     record referenced, followed by a period, followed by the
     page of the record. For example, "ROA.13-12345.123.".
  C. Please note each individual citation must end                  using   a
     termination of a period (.) or semicolon (;).
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Shea E. Pertuit, Deputy Clerk
                                504-310-7666
Enclosure(s)
cc w/encl:
     Mr. Christopher D. Dodge
     Ms. Elisabeth C. Frost
     Mr. Tim C. Holleman
     Mr. Justin Lee Matheny
     Mr. Richard Alexander Medina
     Mr. Rex Morris Shannon III
     Mr. Scott G. Stewart
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                            Case No. 24-60395




Republican National Committee; Mississippi Republican Party;
James Perry; Matthew Lamb; Libertarian Party of Mississippi,
                       Plaintiffs - Appellants
v.
Justin Wetzel, in his official capacity as the clerk and
registrar of the Circuit Court of Harrison County; Toni Jo Diaz,
in their official capacities as members of the Harrison County
Election Commission; Becky Payne, in their official capacities
as members of the Harrison County Election Commission; Barbara
Kimball, in their official capacities as members of the Harrison
County Election Commission; Christene Brice, in their official
capacities as members of the Harrison County Election
Commission; Carolyn Handler, in their official capacities as
members of the Harrison County Election Commission; Michael
Watson, in his official capacity as the Secretary of State of
Mississippi,
                       Defendants - Appellees

Vet Voice Foundation; Mississippi Alliance for Retired
Americans,
                    Intervenor Defendants - Appellees
 ____________________________
Libertarian Party of Mississippi,
                       Plaintiff - Appellant
v.
Justin Wetzel, in his official capacity as the clerk and
registrar of the Circuit Court of Harrison County; Toni Jo Diaz
in their official capacities as members of the Harrison County
Election Commission; Becky Payne, in their official capacities
as members of the Harrison County Election Commission; Barbara
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capacities as members of the Harrison County Election
Commission; Carolyn Handler, in their official capacities as
members of the Harrison County Election Commission; Michael
Watson, in his official capacity as the Secretary of State of
Mississippi,
                       Defendants - Appellees
